 1
                                                                  (LED
                                                          DISTRICT COURT OF GU

 2
                                                                  014 2018
 3
                                                           JEANNE G. QUINATA
 4                                                             01 E»tf ar qpupt
 5

 6                                       DISTRICT COURT OF GUAM

 7                                         TERRITORY OF GUAM

 8

 9
      UNITED STATES OF AMERICA,                         CRIMINAL CASE     NO. 19-00025

10
                            Plaintiff,
11
             vs.
12
                                                          APPOINTMENT ORDER

13    JOEL PO YMBALLA,
                            Defendant.
14

15
            IT IS HEREBY ORDERED that JEFFREY MOOTS is appointed to represent the
16
     Defendant in the above-entitled case.
17


18
            Dated this 14th day of June, 2019.

19

20

21


22

23

24

25

26

27

28




           Case 1:19-cr-00025 Document 8 Filed 06/14/19 Page 1 of 1
